Case 1:22-cv-02235-JEB Document 31-2 Filed 03/28/23 Page 1 of 13




            EXHIBIT B
               Case 1:22-cv-02235-JEB Document 31-2 Filed 03/28/23 Page 2 of 13


Casale, David A.

From:                             Na'eem Omar Betz <nobetzo@gmail.com>
Sent:                             Tuesday, February 21, 2023 3:02 PM
To:                               Quist, Mark D.
Cc:                               Casale, David A.
Subject:                          Re: LOCAL RULE 7(m) CERTIFICATION DUTY TO CONFER ON NONDISPOSITIVE
                                  MOTIONS_REQUESTING YOUR CONSENT OR OBJECTION_ TO THE PROPOSED
                                  CONSENT MOTION FOR AN EXTENSION OF TIME (31) DAYS FOR PLAINTIFF TO
                                  RESPOND TO DEFENDANT SYNCHRONY BANK'S [23] MOTION TO DISMIS



EXTERNAL E-MAIL - From nobetzo@gmail.com



D.C. LAWYER’S RULES OF PROFESSIONAL CONDUCT:

Rule 3.2--Expediting Litigation

Rule 3.4--Fairness to Opposing Party and Counsel

Rule 4.1--Truthfulness in Statements to Others.

Rule 4.3--Dealing With Unrepresented Persons Other Than Clients
Rule 4.4--Respect for Rights of Third Persons

Rule 5.5--Unauthorized Practice

Rule 7.1--Communications Concerning a Lawyer's Services

Rule 8.3--Reporting Professional Misconduct

Rule 8.4--Misconduct

Rule 8.5--Disciplinary Authority; Choice of Law




IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA_ CASE:1:22-cv-
02235-JEB_BETZ v. SYNCHRONY BANK et al.

Good Afternoon,

                                                       1
                  Case 1:22-cv-02235-JEB Document 31-2 Filed 03/28/23 Page 3 of 13

David Casale

Senior Staff Attorney / Pro Hac Vice

Mark D. Quist (D.C. Bar No. 1552500)

Alright, since you provided consent until March 24, 2023 ......I will conditionally accept that for now... But if
additional time is needed I will file a motion with the judge/court immediately.

Document Number: 24

Docket Text:
ORDER DIRECTING Plaintiff to respond to Defendant Synchrony Bank's [23] Motion to Dismiss the
Second Amended Complaint by March 7, 2023. Signed by Judge James E. Boasberg on 2/21/2023.
(lcjeb1)

Thank you for your time and consideration...

Sincerely
Na'eem Omar Betz
Consumer / Plaintiff
ALL RIGHTS RESERVED
28 U.S.C. § 1746 - 15 U.S.C. § 7001(a)(1)(2)
18 U.S.C. § 242 - Deprivation of Rights Under Color of Law

18 U.S.C § 241 - Conspiracy Against Rights
42 U.S.C. § 1983 - Civil Action For Deprivation Of Rights

ELECTRONIC COMMUNICATIONS PRIVACY ACT, 18 U.S.C. §§ 2510-2521
PRIVATE: THIS IS NOT A PUBLIC NOTICE OR PUBLIC COMMUNICATION

Notice to Principal is Notice to Agent / Notice to Agent is Notice to Principal

This private email message, and any attachment(s) is covered by the Electronic Communications Privacy Act, 18 U.S.C. §§
2510-2521, and is for the sole use of the intended recipient and contains privileged and/or confidential information. To all
public servants, including but not limited to Federal, State, or Local corporate government(s): I accept your oath of office as
your firm and binding contract between you and me, one of the People, whereby you have promised to serve, protect, and
defend me, guarantee all of my inalienable rights, and defend the Constitution for the United States of America. Any/all
political, private, or public entities, International, Federal, State, or Local corporate government(s), private International
Organization(s), Municipality(ties), Corporate agent(s), informant(s), investigator(s) et. al., and/or third party(ties) working in
collusion by monitoring My (this email) email(s), and any other means of communication without My express written
permission are barred from any review, use, disclosure, or distribution. With explicit reservation of all My rights, without
prejudice and without recourse to any of My rights. Any omission does not constitute a waiver of any and/or all intellectual
property rights or reserved rights.




                                                                 2
                  Case 1:22-cv-02235-JEB Document 31-2 Filed 03/28/23 Page 4 of 13




External Signed


On Tue, Feb 21, 2023 at 2:48 PM Quist, Mark D. <MQuist@reedsmith.com> wrote:

 I agree that I am not in your position, which is why I invited you to explain why you need more than the 31 days we’ve
 already said we’d consent to. You don’t need to explain anything to us, but absent some explanation, we will not
 consent to an extension behind March 24. We’re trying to accommodate you, but we need reciprocal goodwill and
 cooperation.




 From: Na'eem Omar Betz <nobetzo@gmail.com>
 Sent: Tuesday, February 21, 2023 2:38 PM
 To: Quist, Mark D. <MQuist@reedsmith.com>
 Cc: Casale, David A. <DCasale@reedsmith.com>
 Subject: Re: LOCAL RULE 7(m) CERTIFICATION DUTY TO CONFER ON NONDISPOSITIVE MOTIONS_REQUESTING YOUR
 CONSENT OR OBJECTION_ TO THE PROPOSED CONSENT MOTION FOR AN EXTENSION OF TIME (31) DAYS FOR
 PLAINTIFF TO RESPOND TO DEFENDANT SYNCHRONY BANK'S [23] MOTION TO DISMIS




 EXTERNAL E-MAIL - From nobetzo@gmail.com

 D.C. LAWYER’S RULES OF PROFESSIONAL CONDUCT:

 Rule 3.2--Expediting Litigation

 Rule 3.4--Fairness to Opposing Party and Counsel

 Rule 4.1--Truthfulness in Statements to Others.

 Rule 4.3--Dealing With Unrepresented Persons Other Than Clients
 Rule 4.4--Respect for Rights of Third Persons

 Rule 5.5--Unauthorized Practice

 Rule 7.1--Communications Concerning a Lawyer's Services

 Rule 8.3--Reporting Professional Misconduct

 Rule 8.4--Misconduct
                                                           3
                 Case 1:22-cv-02235-JEB Document 31-2 Filed 03/28/23 Page 5 of 13

Rule 8.5--Disciplinary Authority; Choice of Law




IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA_ CASE:1:22-cv-
02235-JEB_BETZ v. SYNCHRONY BANK et al.

Good Afternoon,

David Casale

Senior Staff Attorney / Pro Hac Vice

Mark D. Quist (D.C. Bar No. 1552500)

Counel the judge has ordered me until March 7, 2023... Also, I have some current personal issues to attend to
and April 7, 2023 will be enough time for me... Furthermore, I know you have never prepared or filed legal
documents as a PRO SE party before.... Respectfully you can't possibly know what my position is like or how
much time I will need....?

Document Number: 24

Docket Text:
ORDER DIRECTING Plaintiff to respond to Defendant Synchrony Bank's [23] Motion to
Dismiss the Second Amended Complaint by March 7, 2023. Signed by Judge James E.
Boasberg on 2/21/2023. (lcjeb1)

Thank you for your time and consideration...

Sincerely
Na'eem Omar Betz
Consumer / Plaintiff
ALL RIGHTS RESERVED
28 U.S.C. § 1746 - 15 U.S.C. § 7001(a)(1)(2)
18 U.S.C. § 242 - Deprivation of Rights Under Color of Law

18 U.S.C § 241 - Conspiracy Against Rights
42 U.S.C. § 1983 - Civil Action For Deprivation Of Rights

ELECTRONIC COMMUNICATIONS PRIVACY ACT, 18 U.S.C. §§ 2510-2521
PRIVATE: THIS IS NOT A PUBLIC NOTICE OR PUBLIC COMMUNICATION

Notice to Principal is Notice to Agent / Notice to Agent is Notice to Principal

                                                                4
                  Case 1:22-cv-02235-JEB Document 31-2 Filed 03/28/23 Page 6 of 13
This private email message, and any attachment(s) is covered by the Electronic Communications Privacy Act, 18 U.S.C. §§
2510-2521, and is for the sole use of the intended recipient and contains privileged and/or confidential information. To all
public servants, including but not limited to Federal, State, or Local corporate government(s): I accept your oath of office as
your firm and binding contract between you and me, one of the People, whereby you have promised to serve, protect, and
defend me, guarantee all of my inalienable rights, and defend the Constitution for the United States of America. Any/all
political, private, or public entities, International, Federal, State, or Local corporate government(s), private International
Organization(s), Municipality(ties), Corporate agent(s), informant(s), investigator(s) et. al., and/or third party(ties) working
in collusion by monitoring My (this email) email(s), and any other means of communication without My express written
permission are barred from any review, use, disclosure, or distribution. With explicit reservation of all My rights, without
prejudice and without recourse to any of My rights. Any omission does not constitute a waiver of any and/or all intellectual
property rights or reserved rights.




External Signed


On Tue, Feb 21, 2023 at 2:28 PM Quist, Mark D. <MQuist@reedsmith.com> wrote:

 March 24 is already 31 days from today, and our motion to dismiss is relatively short and straightforward. Is there
 some reason you need the additional 14 days beyond March 24? We don’t want to be unaccommodating if you can
 explain why you need the additional time, but 45 days to file an opposition to a motion seems extraordinary, even for
 a pro se litigant.




 From: Na'eem Omar Betz <nobetzo@gmail.com>
 Sent: Tuesday, February 21, 2023 2:22 PM
 To: Quist, Mark D. <MQuist@reedsmith.com>
 Cc: Casale, David A. <DCasale@reedsmith.com>
 Subject: Re: LOCAL RULE 7(m) CERTIFICATION DUTY TO CONFER ON NONDISPOSITIVE MOTIONS_REQUESTING YOUR
 CONSENT OR OBJECTION_ TO THE PROPOSED CONSENT MOTION FOR AN EXTENSION OF TIME (31) DAYS FOR
 PLAINTIFF TO RESPOND TO DEFENDANT SYNCHRONY BANK'S [23] MOTION TO DISMIS




 EXTERNAL E-MAIL - From nobetzo@gmail.com




 D.C. LAWYER’S RULES OF PROFESSIONAL CONDUCT:

 Rule 3.2--Expediting Litigation


                                                               5
             Case 1:22-cv-02235-JEB Document 31-2 Filed 03/28/23 Page 7 of 13

Rule 3.4--Fairness to Opposing Party and Counsel

Rule 4.1--Truthfulness in Statements to Others.

Rule 4.3--Dealing With Unrepresented Persons Other Than Clients
Rule 4.4--Respect for Rights of Third Persons

Rule 5.5--Unauthorized Practice

Rule 7.1--Communications Concerning a Lawyer's Services

Rule 8.3--Reporting Professional Misconduct

Rule 8.4--Misconduct

Rule 8.5--Disciplinary Authority; Choice of Law




IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA_ CASE:1:22-cv-
02235-JEB_BETZ v. SYNCHRONY BANK et al.




Good Afternoon,
Mark D. Quist (D.C. Bar No. 1552500)|
David A. Casale / Senior Staff Attorney

In further response to your question..... "31 days" from March 7, 2023, to April 7, 2023.

                      24
Document Number:

Docket Text:
ORDER DIRECTING Plaintiff to respond to Defendant Synchrony Bank's [23] Motion to
Dismiss the Second Amended Complaint by March 7, 2023. Signed by Judge James E.
Boasberg on 2/21/2023. (lcjeb1)

Please advise;

Thank you for your time and consideration...


                                                      6
                  Case 1:22-cv-02235-JEB Document 31-2 Filed 03/28/23 Page 8 of 13

Sincerely
Na'eem Omar Betz
Consumer / Plaintiff
ALL RIGHTS RESERVED

28 U.S.C. § 1746 - 15 U.S.C. § 7001(a)(1)(2)
18 U.S.C. § 242 - Deprivation of Rights Under Color of Law
18 U.S.C § 241 - Conspiracy Against Rights
42 U.S.C. § 1983 - Civil Action For Deprivation Of Rights

ELECTRONIC COMMUNICATIONS PRIVACY ACT, 18 U.S.C. §§ 2510-2521
PRIVATE: THIS IS NOT A PUBLIC NOTICE OR PUBLIC COMMUNICATION

Notice to Principal is Notice to Agent / Notice to Agent is Notice to Principal

This private email message, and any attachment(s) is covered by the Electronic Communications Privacy Act, 18 U.S.C. §§
2510-2521, and is for the sole use of the intended recipient and contains privileged and/or confidential information. To all
public servants, including but not limited to Federal, State, or Local corporate government(s): I accept your oath of office as
your firm and binding contract between you and me, one of the People, whereby you have promised to serve, protect, and
defend me, guarantee all of my inalienable rights, and defend the Constitution for the United States of America. Any/all
political, private, or public entities, International, Federal, State, or Local corporate government(s), private International
Organization(s), Municipality(ties), Corporate agent(s), informant(s), investigator(s) et. al., and/or third party(ties) working
in collusion by monitoring My (this email) email(s), and any other means of communication without My express written
permission are barred from any review, use, disclosure, or distribution. With explicit reservation of all My rights, without
prejudice and without recourse to any of My rights. Any omission does not constitute a waiver of any and/or all intellectual
property rights or reserved rights.




External Signed


On Tue, Feb 21, 2023 at 2:15 PM Quist, Mark D. <MQuist@reedsmith.com> wrote:

 We consent to March 24, and we think that’s plenty of time. But if you intend to seek more time than that, let us
 know the specific date you have in mind once you’re able to do so, and we’ll consider our position.




 From: Na'eem Omar Betz <nobetzo@gmail.com>
 Sent: Tuesday, February 21, 2023 2:11 PM
 To: Quist, Mark D. <MQuist@reedsmith.com>
 Cc: Casale, David A. <DCasale@reedsmith.com>

                                                               7
            Case 1:22-cv-02235-JEB Document 31-2 Filed 03/28/23 Page 9 of 13

Subject: Re: LOCAL RULE 7(m) CERTIFICATION DUTY TO CONFER ON NONDISPOSITIVE MOTIONS_REQUESTING YOUR
CONSENT OR OBJECTION_ TO THE PROPOSED CONSENT MOTION FOR AN EXTENSION OF TIME (31) DAYS FOR
PLAINTIFF TO RESPOND TO DEFENDANT SYNCHRONY BANK'S [23] MOTION TO DISMIS




EXTERNAL E-MAIL - From nobetzo@gmail.com




D.C. LAWYER’S RULES OF PROFESSIONAL CONDUCT:

Rule 3.2--Expediting Litigation

Rule 3.4--Fairness to Opposing Party and Counsel

Rule 4.1--Truthfulness in Statements to Others.

Rule 4.3--Dealing With Unrepresented Persons Other Than Clients
Rule 4.4--Respect for Rights of Third Persons

Rule 5.5--Unauthorized Practice

Rule 7.1--Communications Concerning a Lawyer's Services

Rule 8.3--Reporting Professional Misconduct

Rule 8.4--Misconduct

Rule 8.5--Disciplinary Authority; Choice of Law




IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA_ CASE:1:22-cv-
02235-JEB_BETZ v. SYNCHRONY BANK et al.




Good Afternoon,
Mark D. Quist (D.C. Bar No. 1552500)|
David A. Casale / Senior Staff Attorney

In response to your question either March 24, 2023 or "31 days" from the pending judge's order...
                                                    8
                  Case 1:22-cv-02235-JEB Document 31-2 Filed 03/28/23 Page 10 of 13



Please advise;

Thank you for your time and consideration...

Sincerely
Na'eem Omar Betz
Consumer / Plaintiff
ALL RIGHTS RESERVED

28 U.S.C. § 1746 - 15 U.S.C. § 7001(a)(1)(2)
18 U.S.C. § 242 - Deprivation of Rights Under Color of Law
18 U.S.C § 241 - Conspiracy Against Rights
42 U.S.C. § 1983 - Civil Action For Deprivation Of Rights

ELECTRONIC COMMUNICATIONS PRIVACY ACT, 18 U.S.C. §§ 2510-2521
PRIVATE: THIS IS NOT A PUBLIC NOTICE OR PUBLIC COMMUNICATION

Notice to Principal is Notice to Agent / Notice to Agent is Notice to Principal

This private email message, and any attachment(s) is covered by the Electronic Communications Privacy Act, 18 U.S.C. §§
2510-2521, and is for the sole use of the intended recipient and contains privileged and/or confidential information. To all
public servants, including but not limited to Federal, State, or Local corporate government(s): I accept your oath of office
as your firm and binding contract between you and me, one of the People, whereby you have promised to serve, protect,
and defend me, guarantee all of my inalienable rights, and defend the Constitution for the United States of America.
Any/all political, private, or public entities, International, Federal, State, or Local corporate government(s), private
International Organization(s), Municipality(ties), Corporate agent(s), informant(s), investigator(s) et. al., and/or third
party(ties) working in collusion by monitoring My (this email) email(s), and any other means of communication without
My express written permission are barred from any review, use, disclosure, or distribution. With explicit reservation of all
My rights, without prejudice and without recourse to any of My rights. Any omission does not constitute a waiver of any
and/or all intellectual property rights or reserved rights.




External Signed


On Tue, Feb 21, 2023 at 2:02 PM Quist, Mark D. <MQuist@reedsmith.com> wrote:

 To make sure we’re on the same page, can you confirm that you would be seeking an extension until March 24? If
 so, we can consent to that. If you’re looking for something more than that, please advise – as you’ll recall, this is our
 third motion to dismiss, and we cannot consent to it being pushed out indefinitely. Thanks.

                                                             9
          Case 1:22-cv-02235-JEB Document 31-2 Filed 03/28/23 Page 11 of 13



From: Na'eem Omar Betz <nobetzo@gmail.com>
Sent: Tuesday, February 21, 2023 1:52 PM
To: Quist, Mark D. <MQuist@reedsmith.com>; Casale, David A. <DCasale@reedsmith.com>
Subject: LOCAL RULE 7(m) CERTIFICATION DUTY TO CONFER ON NONDISPOSITIVE MOTIONS_REQUESTING YOUR
CONSENT OR OBJECTION_ TO THE PROPOSED CONSENT MOTION FOR AN EXTENSION OF TIME (31) DAYS FOR
PLAINTIFF TO RESPOND TO DEFENDANT SYNCHRONY BANK'S [23] MOTION TO DISMISS...




EXTERNAL E-MAIL - From nobetzo@gmail.com




D.C. LAWYER’S RULES OF PROFESSIONAL CONDUCT:

Rule 3.2--Expediting Litigation

Rule 3.4--Fairness to Opposing Party and Counsel

Rule 4.1--Truthfulness in Statements to Others.

Rule 4.3--Dealing With Unrepresented Persons Other Than Clients
Rule 4.4--Respect for Rights of Third Persons

Rule 5.5--Unauthorized Practice

Rule 7.1--Communications Concerning a Lawyer's Services

Rule 8.3--Reporting Professional Misconduct

Rule 8.4--Misconduct

Rule 8.5--Disciplinary Authority; Choice of Law




IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA_ CASE:1:22-cv-
02235-JEB_BETZ v. SYNCHRONY BANK et al.




                                                   10
                  Case 1:22-cv-02235-JEB Document 31-2 Filed 03/28/23 Page 12 of 13

Good Afternoon,
Mark D. Quist (D.C. Bar No. 1552500)|
David A. Casale / Senior Staff Attorney

Plaintiff is requesting your consent to the filing of a Consent Motion for an Extension of Time (31) days for
Plaintiff to respond to Defendant Synchrony Bank's [23] Motion to Dismiss the Second Amended
Complaint. I am asking ahead of time to save time and energy around this issue.




Please advise;

Thank you for your time and consideration...

Sincerely
Na'eem Omar Betz
Consumer / Plaintiff
ALL RIGHTS RESERVED

28 U.S.C. § 1746 - 15 U.S.C. § 7001(a)(1)(2)
18 U.S.C. § 242 - Deprivation of Rights Under Color of Law
18 U.S.C § 241 - Conspiracy Against Rights
42 U.S.C. § 1983 - Civil Action For Deprivation Of Rights

ELECTRONIC COMMUNICATIONS PRIVACY ACT, 18 U.S.C. §§ 2510-2521
PRIVATE: THIS IS NOT A PUBLIC NOTICE OR PUBLIC COMMUNICATION

Notice to Principal is Notice to Agent / Notice to Agent is Notice to Principal

This private email message, and any attachment(s) is covered by the Electronic Communications Privacy Act, 18 U.S.C.
§§ 2510-2521, and is for the sole use of the intended recipient and contains privileged and/or confidential information. To
all public servants, including but not limited to Federal, State, or Local corporate government(s): I accept your oath of
office as your firm and binding contract between you and me, one of the People, whereby you have promised to serve,
protect, and defend me, guarantee all of my inalienable rights, and defend the Constitution for the United States of
America. Any/all political, private, or public entities, International, Federal, State, or Local corporate government(s),
private International Organization(s), Municipality(ties), Corporate agent(s), informant(s), investigator(s) et. al., and/or
third party(ties) working in collusion by monitoring My (this email) email(s), and any other means of communication
without My express written permission are barred from any review, use, disclosure, or distribution. With explicit
reservation of all My rights, without prejudice and without recourse to any of My rights. Any omission does not constitute
a waiver of any and/or all intellectual property rights or reserved rights.




External Signed

                                                            11
            Case 1:22-cv-02235-JEB Document 31-2 Filed 03/28/23 Page 13 of 13



                                                           ***

This E-mail, along with any attachments, is considered confidential and may well be legally privileged. If you have
received it in error, you are on notice of its status. Please notify us immediately by reply e-mail and then delete this
message from your system. Please do not copy it or use it for any purposes, or disclose its contents to any other
person. Thank you for your cooperation.

                                                                                             Disclaimer Version RS.US.201.407.01




                                                          12
